   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 1 of 44



            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                         :
JACOB CORMAN, in his official            :
capacity as Majority Leader of the       :     No.
                                         :
Pennsylvania Senate, MICHAEL
                                         :
FOLMER, in his official capacity as            (filed electronically)
                                         :
Chairman of the Pennsylvania Senate      :
State Government Committee, LOU          :     THREE JUDGE COURT
BARLETTA, RYAN COSTELLO,                 :     REQUESTED PURSUANT TO
MIKE KELLY, TOM MARINO, SCOTT :                28 U.S.C. § 2284(a)
                                         :
PERRY, KEITH ROTHFUS, LLOYD
                                         :
SMUCKER, and GLENN THOMPSON, :
                                         :
                         Plaintiffs,     :
                                         :
             v.                          :
                                         :
                                         :
ROBERT TORRES, in his official           :
capacity as Acting Secretary of the      :
Commonwealth, and JONATHAN M.            :
MARKS, in his official capacity as       :
Commissioner of the Bureau of            :
Commissions, Elections, and Legislation, :
                                         :
                                         :
                         Defendants.     :
                                         :

                          VERIFIED COMPLAINT

     Plaintiffs Jacob Corman, Michael Folmer (the “State Plainiffs”), Lou Barletta,

Ryan Costello, Mike Kelly, Tom Marino, Scott Perry, Keith Rothfus, Lloyd

Smucker and Glenn Thompson (the “Federal Plaintiffs”) (collectively, the

“Plaintiffs”), by and through their undersigned counsel, bring this Verified
     Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 2 of 44



Complaint for Injunctive relief against Defendants Robert Torres, Acting Secretary

of the Commonwealth, and Jonathan M. Marks, Commissioner of the Bureau of

Commissions, Elections, and Legislation (collectively, the “Defendants”), and in

support thereof aver as follows:

I.     PRELIMINARY STATEMENT

       1.    This is an action concerning, inter alia, the Pennsylvania Supreme

Court’s striking of a validly-enacted congressional districting plan and issuance of a

substitute plan, each action in direct violation of the Elections Clause of the United

States Constitution (the “Elections Clause”).

       2.    The Elections Clause provides, in relevant part, that “[t]he Times,

Places and Manner” of holding congressional elections “shall be prescribed in each

State by the Legislature thereof[,]”or by an act of Congress. See U.S. Const. art. I, §

4, cl. 1.

       3.    As detailed herein, the Elections Clause vests Pennsylvania’s General

Assembly (or the people by way of constitutional amendment) with exclusive

authority to enact a Congressional districting plan, see Arizona State Leg. v. Arizona

Indep. Redistricting Comm’n, 135 S. Ct. 2652 (2015), and mandates that the General

Assembly be afforded an “adequate opportunity” to craft a substitute plan should an

initial plan be stricken for any reason. See Upham v. Seamon, 456 U.S. 37 (1982).




                                       2
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 3 of 44



      4.    As detailed herein, by Order dated January 22, 2018 the Pennsylvania

Supreme Court struck down the Pennsylvania Congressional Redistricting Act of

2011, 25 P.S. §§ 3596.101, et seq. (the “2011 Plan”) as unconstitutional based upon

its purported violation of “mandatory” districting criteria found nowhere within

Pennsylvania’s Constitution or legislative enactments – a direct violation of the

Elections Clause (as noted by multiple Justices of the Pennsylvania Supreme Court).

      5.    Thereafter, the Pennsylvania Supreme Court compounded the violation

by failing to afford the General Assembly the requisite “adequate opportunity” to

craft a substitute Congressional districting plan–another direct violation of the

Elections Clause (as noted by multiple Justices of the Pennsylvania Supreme Court).

Instead, the court was plainly intent on usurping the General Assembly’s delegated

authority and crafting a plan of its own (which it has now done).

      6.    The Pennsylvania Supreme Court’s violations of the Elections Clause

cannot be countenanced.

      7.    Plaintiffs seek immediate injunctive relief: (A) prohibiting Defendants

from implementing the Congressional districting plan recently crafted by the

Pennsylvania Supreme Court; and (B) directing the Pennsylvania Department of

State to conduct the 2018 May congressional primary and subsequent general

election in accordance with the boundaries contained within the 2011 Plan.




                                      3
      Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 4 of 44



Inasmuch as nominating petitions for the 2018 primary are due to be circulated on

February 27, Plaintiffs’ need for relief is immediate.

II.     JURISDICTION AND VENUE

        8.    Because this action alleges a violation of the United States Constitution,

see U.S. Const. art. I, § 4, cl. 1, and federal law, see 52 U.S.C. §§ 20301, et seq., it

raises a federal question, thereby conferring jurisdiction on this Court pursuant to

28 U.S.C. § 1331.

        9.    Venue is proper in the Middle District of Pennsylvania under 28 U.S.C.

§ 1391(b)(1), since Defendants reside in the district; alternatively venue is proper

under Section 1391(b)(2) because a substantial portion of the events or omissions

giving rise to the present claim occurred in the district. See id. at § 1391(b)(2).

        10.   A three judge district court is requested pursuant to 28 U.S.C.

§ 2284(a), as Plaintiffs’ action “challeng[es] the constitutionality of the

apportionment of congressional districts.” in Pennsylvania.

III.    PARTIES

        11.   Plaintiff, Jacob Corman, is an elected member of the Pennsylvania

Senate who represents the 34th Senatorial District. He is also the Majority Leader of

the Pennsylvania Senate. The Pennsylvania Senate is one of the two chambers of the

Pennsylvania General Assembly, which is vested with the legislative authority of the

Commonwealth of Pennsylvania. The Pennsylvania General Assembly, of which


                                        4
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 5 of 44



Plaintiff is a member, is the body responsible for passing legislative enactments

including redistricting and reapportionment legislation.

      12.    Plaintiff, Michael Folmer, is an elected member of the Pennsylvania

Senate who represents the 48th Senatorial District. He is also the Chairman of the

Senate State Government Committee, a Committee entrusted with, among other

things, Congressional redistricting. The Pennsylvania General Assembly, of which

Plaintiff is a member, is the body responsible for passing legislative enactments

including redistricting and reapportionment legislation.

      13.    Plaintiff Lou Barletta is a Congressman representing the 11th

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Barletta’s District will be substantially altered by the

Congressional districting plan recently crafted by the Pennsylvania Supreme Court.

      14.    Plaintiff Ryan Costello is a Congressman representing the 6th

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Costello is currently running for reelection in the 6th

Congressional District, which has drastically changed due to the actions of the

Pennsylvania Supreme Court. Under the Congressional districting plan recently

crafted by the Pennsylvania Supreme Court, approximately 50% of the 6th district

encompasses new constituents and divides communities that he has served for years.

For example, in the new map, almost the entirety of Berks County will reside in a


                                      5
    Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 6 of 44



different district and the Township of Exeter will now be split. This has destroyed

any incumbency advantage that Congressman Costello may have once held and the

Congressman’s District now contains a majority of voters from the Democratic

Party, where it once was a majority Republican district. He has been actively

campaigning for reelection, having participated in numerous forums and town-hall

meetings, and raising over $1.6 million for his candidacy. Congressman Costello

spent approximately $450,000 for his re-election in 2017, of which over $220,000

was spent in efforts to engage with voters he will no longer represent.1 Congressman

Costello is currently providing services to 325 constituents in order to resolve

various issues with the federal government. Approximately 144 of these constituents

will find themselves in new districts which will likely delay the resolution of those

issues.

      15.    Plaintiff Mike Kelly is a Congressman representing the 3rd

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Kelly is currently running for reelection in the 3rd

Congressional District, which has drastically changed due to the actions of the

Pennsylvania Supreme Court. Under the Congressional districting plan recently

crafted by the Pennsylvania Supreme Court, the Congressman’s district now


1
 All figures reflecting dollars spent or raised toward reelection efforts are available
at the FEC website. See
https://classic.fec.gov/finance/disclosure/candcmte_info.shtml.
                                       6
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 7 of 44



contains a majority of voters from the Democratic party, where it once was a

majority Republican district (interestingly, this is despite the fact that the core of the

Congressman’s district remained more intact than any other district). He has been

actively campaigning for reelection, having participated in numerous forums and

town-hall meetings, and raising over $1.1 million for his candidacy. Congressman

Kelly, through his committee, spent approximately $490,000 for his reelection in

2017, much of which was spent in efforts to engage with voters he will no longer

represent.

      16.    Plaintiff Thomas “Tom” Marino is a Congressman representing the 10th

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Marino is currently running for reelection in the 10th

Congressional District, which has drastically changed due to the actions of the

Pennsylvania Supreme Court. Under the Congressional districting plan recently

crafted by the Pennsylvania Supreme Court, Congressman Marino will no longer

represent 30% of the residents from his current district if the new map takes effect.

He has been actively campaigning for reelection, having participated in numerous

forums and town-hall meetings, and raising over $160,000 for his candidacy.

Congressman Marino, through his committee, spent approximately $140,000 for his

reelection in 2017, much of which was spent in efforts to engage with voters he will

no longer represent.


                                        7
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 8 of 44



      17.    Plaintiff Scott Perry is a Congressman representing the 4th

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Perry is currently running for reelection in the 4th

Congressional District, which has drastically changed due to the actions of the

Pennsylvania Supreme Court. Under the Congressional districting plan recently

crafted by the Pennsylvania Supreme Court, Congressman Perry will only represent

59% of the voters from his previous district. As such, the new map destroys any

incumbent advantage he enjoyed under the previous plan. For example, the new map

removes Adams County entirely and the vast majority of York County from his

district. He has been actively campaigning for reelection, having participated in

numerous forums and town-hall meetings, and raising over $319,000 for his

candidacy. Congressman Perry, through his committee, spent approximately

$150,000 for his reelection in 2017, much of which was spent in efforts to engage

with voters he will no longer represent. Congressman Perry is currently providing

services to 260 constituents in order to resolve various issues with the federal

government. These constituents reside primarily in York and Adams Counties, York

being the current population center of his district. The new map removes Adams

County entirely and the vast majority of York County from his district and, therefore,

these constituents will find themselves in new districts which will inevitably delay

the resolution of those issues.


                                       8
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 9 of 44



      18.    Plaintiff Keith Rothfus is a Congressman representing the 12th

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Rothfus is currently running for reelection in the 12th

Congressional District, which has drastically changed due to the actions of the

Pennsylvania Supreme Court. Under the Congressional districting plan recently

crafted by the Pennsylvania Supreme Court, the Congressman will now represent

only 55% of his current constituents in this new district. Because of these changes

the Congressman will lose any incumbency advantage he had previously held. In

fact, the Congressman’s district has become substantially more Democratic than

before. The Congressman’s old district had a 5.5% Democratic registration

advantage. The new plan has a 13.8% Democratic registration majority. He has been

actively campaigning for reelection, having participated in numerous forums and

town-hall meetings, and raising over $900,000 for his candidacy. Congressman

Rothfus, through his committee, spent approximately $270,000 for his reelection in

2017 much of which was spent in efforts to engage with voters he will no longer

represent.

      19.    Plaintiff Lloyd Smucker is a Congressman representing the 16th

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Smucker is currently running for reelection in the

16th Congressional District, which has drastically changed due to the actions of the


                                      9
  Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 10 of 44



Pennsylvania Supreme Court. Under the Congressional districting plan recently

crafted by the Pennsylvania Supreme Court, the Congressman would represent only

68% of the constituents from his previous district, which destroys any incumbency

advantage he once had. He has been actively campaigning for reelection, having

participated in numerous forums and town-hall meetings, and raising over $450,000

for his candidacy. Congressman Smucker, through his committee, spent

approximately $290,000 for his reelection in 2017, much of which was spent in

efforts to engage with voters he will no longer represent.

      20.    Plaintiff Glenn Thompson is a Congressman representing the 5th

Congressional District of Pennsylvania in the United States House of

Representatives. Congressman Thompson is currently running for reelection in the

5th Congressional District, which has drastically changed due to the actions of the

Pennsylvania Supreme Court. Under the Congressional districting plan recently

crafted by the Pennsylvania Supreme Court, the Congressman will represent only

57% of his previous constituents, which destroys any incumbency advantage he once

had. He has been actively campaigning for reelection, having participated in

numerous forums and town-hall meetings, and raising over $650,000 for his

candidacy. Congressman Thompson, through his committee, spent approximately

$530,000 for his reelection in 2017, much of which was spent in efforts to engage

with voters he will no longer represent.


                                      10
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 11 of 44



      21.    Defendant, Robert Torres, is Acting Secretary of the Commonwealth,

the chief administrative officer of the Pennsylvania Department of State (the

“Department”). Defendant Torres is a party in his official capacity.

      22.    Among other things, the Department is responsible for overseeing

elections in the Commonwealth and ensuring that such elections are conducted

consistent with the Pennsylvania Election Code, and all other duly enacted laws. See

25 P.S. §§ 2621-26.

      23.    Defendant, Jonathan Marks, is the Commissioner of the Bureau of

Commissions, Elections and Legislation (the “Bureau”), a key constituent of the

Department tasked with, inter alia, carrying out the all duties relative to elections

identified in the preceding paragraph. Defendant Marks is a party in his official

capacity.

IV.   FACTUAL ALLEGATIONS

      A.     The 2011 Plan And Challenge Thereto

      24.    On December 22, 2011, the 2011 Plan was signed into law following

the decennial congressional reapportionment. See 25 P.S. §§ 3596.101, et seq.

      25.    Since its enactment, the Department has conducted seven elections

under the 2011 Plan (three primary elections, three general elections, and one special

election).




                                      11
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 12 of 44



      26.    In June 2017, various individuals (collectively, the “Petitioners”)

brought an action in the Commonwealth Court of Pennsylvania challenging the 2011

Plan on various state constitutional grounds (the “Challenge”).

      27.    Joseph Scarnati III, the President Pro Tempore of the Pennsylvania

Senate and Michael Turzai, the Speaker of the Pennsylvania House of

Representatives were two of the named respondents to that Challenge (collectively,

the “Legislative Respondents”).

      28.    Prior to June 2017, the 2011 Plan had not been challenged in any state

or federal court.

      29.    In the Challenge, Petitioners argued that the 2011 Plan violated: (a) the

Equal Protection provisions of the Pennsylvania Constitution; see Pa. Const. art. I

§§ 1 & 26; (b) the Free and Equal Elections Clause of the Pennsylvania Constitution;

see id. at § 5; and (c) their rights to free expression and association under the

Pennsylvania Constitution. See id. at § 7.

      B.     The Supreme Court’s Granting of Extraordinary Relief, And The
             Proceedings Before The Commonwealth Court

      30.    In October 2017, upon a Motion by Legislative Respondents, the

Commonwealth Court stayed the Challenge pending a decision from the United

States Supreme Court in Gill v. Whitford, No. 16-1161 (U.S.) (argued Oct. 3, 2017).

      31.    Petitioners subsequently filed an application for extraordinary relief in

the Pennsylvania Supreme Court.

                                      12
  Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 13 of 44



        32.   On November 9, 2017, in a per curiam Order joined by only four of the

seven justices, the Pennsylvania Supreme Court granted the application, assumed

plenary jurisdiction over the Challenge, and remanded the matter to the

Commonwealth Court with instructions to take all necessary steps to develop an

evidentiary record and to submit its findings of fact and recommended conclusions

of law by December 31, 2017. A copy of the Pennsylvania Supreme Court’s

November 9, 2017 Order is attached hereto as Exhibit A.

        33.   The Commonwealth Court conducted proceedings and submitted a

report on December 29, 2017, finding that the 2011 Plan was driven by certain

partisan motives, but concluding that it complied with Pennsylvania’s Constitution.

In so concluding, the Commonwealth Court recognized that a judicially manageable

standard for differentiating between permissible and impermissible partisan

considerations had not been identified. In the absence of such a rubric, the

Commonwealth Court opined that it would be inappropriate to invalidate the 2011

Plan.

        34.   Shortly thereafter, the Pennsylvania Supreme Court ordered expedited

briefing, and heard argument with regard to the Challenge on January 17, 2018.

        C.    The Pennsylvania Supreme Court’s January 22, 2018 Orders And
              Attendant Statements

        35.   By Per Curiam Order dated January 22, 2018, the Pennsylvania

Supreme Court determined that the 2011 Plan violated Pennsylvania’s Constitution,

                                     13
  Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 14 of 44



and enjoined its use in connection with the upcoming primary election scheduled for

May 15, 2018. A copy of the January 22, 2018 Per Curiam Order (“PCO”) is attached

hereto as Exhibit B.

      36.    The PCO afforded Pennsylvania’s General Assembly 18 days (14

business days) to submit to Pennsylvania’s Governor for consideration “a

congressional districting plan that satisfies the requirements of the Pennsylvania

Constitution, …” as set forth by the Court and afforded the Governor another six

days thereafter to decide whether to “accept” such plan and submit it to the Court.

Id. at 2 (paragraph “Second”).

      37.    The PCO also stated that if: (a) the General Assembly did not submit a

plan to the Governor; or (b) the Governor did not accept that plan by February 15,

2018, the Court would create its own plan. Id. (paragraph “Third”).

      38.    While the PCO advised that an “[o]pinion [would] follow,” id. at 3, it

noted: “[T]o comply with this Order, any congressional districting plan shall consist

of: congressional districts composed of compact and contiguous territory; as nearly

equal in population as practicable; and which do not divide any county, city,

incorporated town, borough, township, or ward, except where necessary to ensure

equality of population.” Id. (paragraph “Fourth”).

      39.    The PCO was accompanied by two Dissenting Statements, one issued

by Chief Justice Saylor and another by Justice Mundy, as well as a Concurring and


                                     14
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 15 of 44



Dissenting Statement issued by Justice Baer. Copies of these Statements are attached

hereto as Exhibits C, D and E, respectively.

      40.    Chief Justice Saylor, in dissent, cited the Elections Clause, noting that

“[t]he crafting of congressional district boundaries is quintessentially a political

endeavor assigned to state legislatures by the United States Constitution.” Exhibit

C at 2 (citing U.S. Const. art. 1, § 4).

      41.    The Chief Justice further explained: “I would not presently upset those

districts, in such an extraordinarily compressed fashion, and without clarifying – for

the benefit of the General Assembly and the public – the constitutional standards by

which districting is now being adjudged in Pennsylvania.” Id. at 3.

      42.    Justice Mundy, in dissent, also cited the Elections Clause, explaining:

“In my view, the implication that this Court may undertake the task of drawing a

congressional map on its own raises a serious federal constitutional concern.”

Exhibit D at 2 (citing U.S. Const. art. 1, § 4) (emphasis added); see also id. at 3.

      43.    Further, she explained that “[t]he Court’s order fails to give essential

guidance to the General Assembly and the Governor, or this Court on how to create

a constitutional, non-gerrymandered map.” Id. at 2; see also id. (expressing “concern

with the vagueness of the Court’s [PCO].”).

      44.    In   his   Concurring     and      Dissenting   Statement,   Justice   Baer

“recognize[ed] that redistricting is a legislative function.” Exhibit E at 2 (citing


                                           15
    Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 16 of 44



Butcher v. Bloom, 203 A.2d 556, 559 (Pa. 1964) (“The task of reapportionment is

not only the responsibility of the Legislature, it is also a function which can be best

accomplished by that elected branch of government.”)).

       45.   He voiced serious concerns about the disruption, “if not chaos,” that he

foresaw occurring in the event that the 2011 Plan was not utilized in connection with

the upcoming elections, id. at 2-4, and thus stated his belief that it would be “more

prudent to apply our holding in this case to the 2020 election cycle, which would

allow ample time for our sister branches of government to comply with our holding

with guidance from our forthcoming opinion …” Id at 4.

       46.   Justice Baer also indicated his concerns with the Court’s contemplated

process, i.e. his due process concerns resulting from such contemplated procedure.

Id.2




2
  Nor are the named Plaintiffs and the dissenting Justices the only parties concerned
about the Constitutional crisis precipitated by the PCO and the subsequent orders.
The Wall Street Journal’s Opinion page describes the Supreme Court’s “unvarnished
political hubris” in invading legislative territory as nothing less than a “judicial coup
d’etat” that could have implications far beyond the Commonwealth. See Wall Street
Journal, Wall Street Journal, February 21, 2018,
https://www.wsj.com/articles/pennsylvanias-redistricting-coup-
1519170870?emailToken=37a2f67f915bf9741c577d67a4d02dcaCts5XER0BS8Sy
oWQwetedrCc5qpScfIhwcNZF1WQ4IaWh7nBecSLgqXfx8jxRbp4VdReJqCARjs
1KhIMzDjT%2Fg%3D%3D (last visited Feb 21, 2018). Allowing a successful
power grab by the Supreme Court here provides a road map and precedent for other
state’s high courts to continue on this dangerous vector.

                                       16
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 17 of 44



      47.    As a result, only four of the seven Justices of the Pennsylvania Supreme

Court agreed with the PCO’s remedy requiring that the newly crafted Congressional

districting plan go into effect prior to the 2018 primary election cycle.3

      D.     The Legislative Process In Pennsylvania

      48.    The PCO’s requirement that the General Assembly pass a law in only

18 days created an impossible task for the General Assembly.

      49.    The legislative authority of the Commonwealth of Pennsylvania is

vested in the General Assembly, which consists of a State Senate and a State House

of Representatives. See Pa. Const. art. II, § 1.

      50.    Article III of Pennsylvania’s Constitution governs the lawmaking

process generally and, as relevant herein, includes the following requirements:

             a. No law may be enacted unless it is passed in the form of a “bill;” Pa.
                Const. art. III, § 1;

             b. A bill may not be considered unless it is “referred to a committee,”
                and “printed for the use of the members[;]” Pa. Const. art III, § 2;




Similarly, the Pittsburgh Post-Gazette’s Editorial Board opined that the Supreme
Court “mishandled virtually every ... aspect of the case. It gave the Legislature an
unrealistic timetable for drawing a new map — as Justice Baer noted — and its
decision to craft its own was a naked usurpation of the Legislature’s authority over
the redistricting process.” Map of Confusion: The Supreme Court moved too fast
on new districts, Pittsburgh Post-Gazette, February 21, 2018, http://www.post-
gazette.com/opinion/editorials/2018/02/21/Map-of-confusion-The-Supreme-Court-
moved-too-fast-on-new-districts/stories/201802280036 (last visited Feb 21, 2018).

                                       17
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 18 of 44



              c. A bill cannot become law unless it is “considered on three different
                 days in each House” and “on its final passage the vote [on the bill]
                 is taken by yeas and nays[;]” Pa. Const. art. III, § 4; and

              d. On final passage, “[t]he names of the persons voting for and against”
                 the bill must be entered in the official journal, which must show that
                 “a majority of the members elected to each House” voted in its favor.
                 Id.

       51.    Article III of Pennsylvania’s Constitution also requires all legislative

enactments to be submitted to the Governor for his approval before they become

effective. See Pa. Const. art. III, § 9.

       52.    The foregoing provision, however, affords the General Assembly the

power to override a gubernatorial veto upon the vote of two-thirds of both chambers

of the General Assembly. See id.

       53.    Article IV, § 15 of the Pennsylvania Constitution – which further

explicates the process for vetoing legislation and, if necessary, overriding such a

veto – grants the Governor ten days to consider a bill and decide whether to exercise

the power. See Pa. Const. art. IV, § 15.

       54.    Collectively, these provisions of the Pennsylvania Constitution

establish numerous requirements attendant to the passage of any legislation in

Pennsylvania, including any legislation contemplated by the PCO.




                                           18
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 19 of 44



      E.     The General Assembly’s Efforts To Comply With The Supreme
             Court’s January 22, 2018 Order

      55.    Shortly after entry of the PCO, Legislative Respondents sought a stay

from the Pennsylvania Supreme Court because, among other things, the PCO did not

provide sufficient guidance regarding what criteria a new map would need to satisfy

to comply with Pennsylvania’s Constitution.

      56.    Legislative Respondents also explained that the Order provided

inadequate time to enact a new map.

      57.    The application for a stay was denied.

      58.    On January 29, 2018, notwithstanding the Pennsylvania Supreme

Court's failure to issue an opinion in support of the PCO, Senate Bill 1034 (“SB

1034”) was introduced.

      59.    SB 1034 was a shell bill intended to initiate the legislative process to

enable the General Assembly to comply with the PCO.

      60.    Then, in order to further facilitate the legislative process, on February

6, 2018 Legislative Respondents met with Governor Wolf to discuss new

congressional districting legislation.

      61.    On February 9, 2018, Legislative Respondents presented Governor

Wolf with a new Congressional districting plan which, if it met with the Governor’s

approval, would form the basis legislation to be embarked upon the following week

(via SB 1034).

                                         19
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 20 of 44



      62.    Governor Wolf waited four days, until February 13, to respond to

Legislative Respondents regarding whether he would agree to their proposal.

      63.    He rejected the proposed map, adding that he would veto the proposed

map even if it passed the General Assembly.

      64.    Legislation for a new congressional districting plan has not been

enacted.

      F.     The Pennsylvania Supreme Court’s February 7, 2018 Opinions

      65.    On February 7, 2018 – 16 days into the 18 day period that the Court

afforded the General Assembly to draft a new congressional plan – the Court issued

the promised Majority Opinion (consisting of 137 pages) as well as two Dissenting

Opinions, and a Concurring and Dissenting Opinion. Copies of the Majority

Opinion, the two Dissenting Opinions and the Concurring and Dissenting Opinion

are attached hereto as Exhibits F, G, H and I, respectively.

      66.    The Majority Opinion sets forth at length the factual history of the 2011

Plan’s enactment, the results of elections conducted under the Plan, the procedural

history of the Challenge, and the history of the Free and Equal Elections Clause of

Pennsylvania’s Constitution. See Exhibit F at 1-118.

      67.    Notably, the Majority Opinion identified the historic use of certain

neutral criteria in connection with crafting Pennsylvania’s legislative districts, id. at

119; see generally id. at 119-122, before then concluding that even though these


                                       20
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 21 of 44



criteria are memorialized nowhere within Pennsylvania’s Constitution or legislative

scheme for use in connection with congressional districting, their use is nevertheless

mandatory:

      Consequently . . . we adopt these measures as appropriate in
      determining whether a congressional redistricting plan violates the Free
      and Equal Elections Clause of the Pennsylvania Constitution.
      Therefore, an essential part of such an inquiry is an examination of
      whether the congressional districts created under the redistricting plan
      are:

             Composed of compact and contiguous territory; as nearly
             equal in population as practicable; and which do not divide
             any county, city, incorporated town, borough, township,
             or ward, except where necessary to ensure equality of
             population.

Id. at 123 (emphasis added).

      68.    The Majority Opinion explained that “[t]hese neutral criteria provide a

‘floor’ of protection for an individual against the dilution of his or her vote in the

creation of such districts.” Id.

      69.    The Majority Opinion also provided—for the first time in

Pennsylvania’s Jurisprudence—previously absent guidance concerning proper

compliance with the Free and Equal Elections Clause and these newly-established

mandatory criteria:

             ●        “When … it is demonstrated that, in the creation of congressional
                      districts, these neutral criteria have been subordinated, in whole
                      or in part, to extraneous considerations such as gerrymandering
                      for unfair partisan advantage, a congressional districting plan


                                        21
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 22 of 44



                    violates [the Free and Equal Elections Clause] of the
                    Pennsylvania Constitution.” Id.;

             ●      “[T]his standard does not require a showing that the creators of
                    congressional districts intentionally subordinated these
                    traditional criteria to other considerations in the creation of the
                    district in order for it to violate [the Free and Equal Elections
                    Clause]; rather, it is sufficient to establish a violation of this
                    section to show that these traditional criteria were subordinated
                    to other factors.” Id. at 124;

             ●      A congressional plan violates the Free and Equal Elections
                    Clause when it splits 28 counties and 68 municipalities. Id. at
                    126, 128, 130;

             ●      A congressional plan violates the Free and Equal Elections
                    Clause when its “mean-median vote gap” is 5.9% or higher (as
                    an acceptable range is between 0 and 4%). Id. at 128, 130; and

             ●      A congressional plan violates the Free and Equal Elections
                    Clause when its “efficiency gap” is between 15% and 24%
                    relative to statewide vote share. Id. at 128, 129, 130.

             ●      A proportional representation requirement where “all voters
                    have an equal opportunity to translate their votes into
                    representation.” Id. at 100.

      70.    Chief Justice Saylor, within his Dissenting Opinion, articulated

profound concerns about the PCO and the Majority Opinion, concerns arising

primarily from the majority’s unilateral grafting of criteria applicable to

Pennsylvania’s legislative districts onto congressional districting in contravention of

the U.S. Constitution’s Elections Clause. See Exhibit G.

      71.    Chief Justice Saylor explained that “the majority proceeds to overlay

factors delineated by the Pennsylvania Constitution in relation to state-level
                                      22
    Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 23 of 44



reapportionment upon congressional districting,” and that “[s]ince these

considerations are not constitutional commands applicable to congressional

districting, the majority’s approach amounts to a non-textual, judicial imposition of

a prophylactic rule.” Id. at 4; see also id. at 5 n.3 (“My concern is with the manner

in which the majority rigidifies these factors in the congressional districting

context.”); id. (“This circumstance appears particularly troublesome because,

although the state charter speaks directly to the constraints for state legislative

districts, it does not mention congressional districts at all.”).

       72.   He also explained that “the majority opinion fails to sufficiently

account for the fundamental character of redistricting, its allocation under the United

States Constitution to the political branch, and the many drawbacks of

constitutionalizing a non-textual judicial rule,” Exhibit G at 7 (emphasis added),

and warned: “The consideration of whether this sort of rule should be imposed by

the judiciary upon a process committed by the federal Constitution to another branch

of government seems to me to require particular caution and restraint.” Id. at 6

(emphasis added).4




4
  Chief Justice Saylor also noted the majority’s determination deviated directly
from the Court’s precedent, i.e. Erfer v. Commonwealth, 794 A.2d 325 (2002); see
also Id. at 6 n.4, 7.
                                        23
    Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 24 of 44



       73.    Chief Justice Saylor was not alone in his concerns. Justice Mundy, too,

articulated great concerns about the PCO and the Majority Opinion within her

separate Dissenting Opinion. See Exhibit H.

       74.   Justice Mundy’s concerns are grounded primarily in two areas: (a) the

majority’s violation of the Elections Clause through the imposition of mandatory

criteria found nowhere within Pennsylvania’s Constitution or statutes on

congressional districting; and (b) the extremely limited amount of time afforded the

General Assembly to remedy the situation, i.e. create and enact a substitute

districting plan. Exhibit G.

       75.   With regard to the majority’s application of these mandatory criteria to

congressional districting, Justice Mundy explained: “The Majority concedes,

‘[n]either [the Free and Equal Elections Clause], nor any other provision of our

Constitution, articulates explicit standards which are to be used in the creation of

congressional districts’ . . . . Nevertheless, the Majority holds that ‘certain neutral

criteria’ are to be utilized in drawing congressional districts in this Commonwealth.”

Id. at 2 (internal citations omitted); see also id. at 3 (identifying majority’s three-part

test utilizing the newly-hatched mandatory criteria).5




5
  Justice Mundy also noted her puzzlement that the majority was deviating from
the Court’s prior decision in Erfer. Id. at 2-3.
                                        24
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 25 of 44



      76.    Justice Mundy also explained her “grave concerns” arising from the

majority’s remedy, id. at 3, a remedy “inconsistent with the restraints imposed by

federal law,” id. at 4 (emphasis added), and a remedy Justice Mundy explained

equated with “the Majority … bestowing the task of drawing a new Congressional

map onto itself in the face of a clear legislative alternative.” Id. (emphasis added).

      77.    Justice Mundy commenced her analysis with a discussion of the U.S.

Constitution’s Elections Clause, which she explained “grants the authority to draw

a state’s congressional districts to the state legislatures, Congress, or an independent

redistricting commission.” Id. at 5 (citing Arizona State Legislature v. Ariz. Indep.

Redistricting Comm’n, 135 S. Ct. 2652, 2667-68 (2015)).

      78.    Next, she explained the “truism that this Court possesses neither

legislative function, nor authority[,]” Exhibit G at 6, and that the court “may not

remedy any violations of [Pennsylvania’s] state charter in a manner that the Federal

Constitution prohibits. After all, federal law is supreme.” Id. at 6 (citing U.S. Const.

art. VI, cl. 2 (emphasis in original)).

      79.    Justice Mundy dedicated the remainder of her Dissenting Opinion to

explaining why Pennsylvania Supreme Court and federal precedent weighed

strongly in favor of conducting the 2018 elections pursuant to the 2011 Plan, and

why the Court should not endeavor to craft a new map in the first instance. See

generally Exhibit G at 3-9; see id. at 3 (“I am troubled by the Majority’s decision


                                          25
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 26 of 44



to strike down the 2011 congressional map on the eve of the 2018 midterm election.

[sic] Particularly its disregard for precedent which supports deferring redistricting

until after the 2018 election.”); id. at 5 n.3 (“But it is quite another matter for this

Court to put the General Assembly on a three-week timeline without articulating the

complete criteria necessary to be constitutionally compliant.”); id. at 7 (“The [U.S.

Supreme] Court’s opinion in Growe sheds no light on whether a state court may take

on the task of drawing a federal congressional map in the first instance.”).

       80.   Finally, while Justice Baer joined the majority in concluding that the

2011 Plan violated Pennsylvania Constitution’s Free and Equal Elections Clause,

within his Concurring and Dissenting Opinion he articulated his concern regarding

the majority’s “impos[ition of] court-designated criteria on the Legislature,” see

Exhibit I at 2, id. at 3 n.5, as well as his concern that:

       the Court’s remedy threatens the separation of powers dictated by [the
       Elections Clause] of the United States Constitution by failing to allow
       our sister branches sufficient time to legislate a new congressional
       districting map, potentially impinges upon the due process rights of the
       parties at bar as well as other interested parties, and foments
       unnecessary confusion in the current election cycle.

Id. at 3.

       81.   Justice Baer first noted that the Elections Clause does not imbue courts

with legislative authority, id. at 4, and thereafter explained that because

Pennsylvania’s “Constitution is silent in regard to the criteria to be applied by the



                                        26
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 27 of 44



Legislature in establishing congressional districts for Representatives to the United

States Congress[,]” id. at 5:

      I am unwilling to engraft into the Pennsylvania Constitution criteria for
      the drawing of congressional districts when the framers chose not to
      include such provisions despite unquestionably being aware of both the
      General Assembly’s responsibility for congressional districting and the
      dangers of gerrymandering. It is not this Court’s role to instruct the
      Legislature as to the ‘manner of holding elections,’ including the
      relative weight of districting criteria.

Id. at 5-6 (emphasis added).

      82.    Justice Baer then expressed his significant concerns arising from the

remedy directed by the majority “given the substantial uncertainty, if not outright

chaos” arising from such remedy. Id. at 8.

      83.    He explained that “the Legislature does not have a fair opportunity to

act ‘in the first instance’ where it has less than three weeks to develop a plan,” id.

(emphasis added), and that “[r]ather than providing the General Assembly a

reasonable opportunity to create a map and pass legislation to adopt it, the Majority

has taken steps in preparation for the ‘possible eventuality’ that the Legislature

cannot act in this compressed time frame.” Id. at 9; see also id. at 8-9 (explaining

why less than three weeks is not reasonable), id. at 10 (“[T]his Court has provided

the Legislature three weeks from the initial order to produce a new map. In my view,

this does not constitute a reasonable time for the Legislature to act.”).




                                       27
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 28 of 44



      84.    And he explained that “the unambiguous grant of redistricting authority

to the state legislature under [the Elections Clause] of the Federal Constitution

mandates judicial restraint to allow a legislature a reasonable period of time, which

should be measured in months rather than weeks, to redistrict following a

determination of unconstitutionality by a court, which preferably would provide the

legislative bodies a clear understanding of the nature of the original plan’s

unconstitutionality.” Id. at 9; see also id. at 9-10 (explaining why the 2018 elections

could and should be conducted under the 2011 Plan).

      85.    Additionally, Justice Baer explained the grave “constitutionally-

mandated due process”, id. at 11, concerns arising from “the Court’s procedure for

drawing the map should the Legislature and Governor fail to produce one by the

dates set forth in the January 22nd Order …” Id. at 10; see generally id. at 10-12

(detailing concerns); id. at 12 (“The litigation and resulting confusion that has

ensued since the release of the January 22nd Order confirm my initial concerns.”).

      G.     The Pennsylvania Supreme Court’s February 19, 2018
             Congressional Districting Plan

      86.    On February 19, 2018, the Pennsylvania Supreme Court issued a

congressional districting plan, ordering that it be used for use in the upcoming

primary and general elections (the “Court Drawn Plan”). A copy of the Court Drawn

Plan is attached hereto as Exhibit J.



                                        28
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 29 of 44



       87.    Astoundingly, the Court Drawn Plan does not appear to comply with

the PCO or the Majority Opinion.

       88.    Far from being free of politics, it appears that every choice made in the

Court Drawn Plan was to pack Republicans into as few districts as possible, while

advantaging Democrats.

       89.    For example, this graphic from Nate Cohn, a professional political

analyst, helps to illustrate this point:




                                           29
  Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 30 of 44




      90.   Similarly, political analyst David Wasserman of the Cook Political

Report explained:




                                  30
    Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 31 of 44




       91.   Below are three additional graphics showing a similar analysis using6:

                 2016 Presidential data only, Figure 1, 2008 – 2010 statewide

                   election data, Figure 2, and 2012, 2014 and 2016 election data,

                   Figure 3.




6
 The arrows on the maps indicate those areas that are most egregiously altered in
order to overcome Republicans’ natural geographic political advantage for the
benefit of Democrats.
                                     31
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 32 of 44




Figure 1: Pennsylvania 2016 Presidential Votes Only.

                                         32
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 33 of 44




Figure 2: 2008 – 2010 Statewide Election Data


                                         33
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 34 of 44




Figure 3: 2012, 2014 and 2016 Election Data.



                                         34
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 35 of 44



       92.    The Defendants in this case are now charged with implementing a

Congressional districting plan developed in violation of the U.S. Constitution.

                                   COUNT I
    Violation of the Elections Clause -- Usurpation of Legislative Authority

       93.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth

herein.

       94.    The U.S. Constitution’s Elections Clause provides that “[t]he Times,

Places and Manner” of congressional elections “shall be prescribed in each State by

the Legislature thereof” unless “Congress” should “make or alter such Regulations.”

U.S. Const. art. I, § 4, cl. 1.

       95.    The U.S. Supreme Court has consistently held “that redistricting is a

legislative function, to be performed in accordance with the State’s prescriptions for

lawmaking.” Arizona State Leg., 135 S. Ct. at 2668.

       96.    The state legislature of Pennsylvania is the General Assembly, which

is comprised of two chambers: the House of Representatives and the Senate.

       97.    The Pennsylvania Supreme Court does not exercise a legislative

function when it decides cases. See Watson v. Witkin, 22 A.2d 17, 23 (Pa. 1941); see

also Agre v. Wolf, No. CV 17-4392, 2018 WL 351603 (E.D. Pa. Jan. 10, 2018)

Smith, CJ,) (detailing the Elections Clause, including its origins and history, and

ultimately concluded that it proscribed judicial legislation of this nature).



                                       35
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 36 of 44



      98.    Through the PCO and the Majority Opinion, the Pennsylvania Supreme

Court has legislated criteria the Pennsylvania General Assembly must satisfy when

drawing a congressional districting plan, i.e. contiguity, compactness and limitation

of political subdivision splits, see Exhibits B and F, and seized upon these very

criteria in invalidating the 2011 Plan.

      99.    These standards amount to mandatory redistricting criteria found

nowhere within Pennsylvania’s Constitution or legislative scheme.

      100. No Pennsylvania legislative process—not the General Assembly itself,

not a constitutional convention, not a referendum, not even an administrative agency

with delegated rulemaking authority—adopted or ratified these legislative criteria

newly-adopted by the Pennsylvania Supreme Court.

      101. Indeed, the Pennsylvania Supreme Court has previously confirmed that,

in the “context of Congressional reapportionment,” there are “no analogous, direct

textual references to such neutral apportionment criteria.” Erfer, 794 A.2d at 334

n.4 (emphasis added).

      102. Moreover, the PCO establishes that the Court would assume

supervisory authority over the General Assembly because even if the General

Assembly and the Governor enacted a new congressional districting plan, the

Pennsylvania Supreme Court reserved for itself the right to strike that plan—thereby

only further injecting itself into the legislative process. See Exhibit F.


                                          36
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 37 of 44



      103. For these reasons, the Pennsylvania Supreme Court has impermissibly

usurped the Election Clause’s express grant of exclusive authority to the General

Assembly (and the people of Pennsylvania) – as noted by multiple Justices of the

Pennsylvania Supreme Court.

                                  COUNT II
Violation of the Elections Clause -- Failing to Afford the General Assembly an
               Adequate Opportunity to Enact a Remedial Plan

      104. Plaintiffs incorporate the foregoing paragraphs as if fully set forth

herein.

      105. The United States Supreme Court has held that “[i]n fashioning a

reapportionment plan or in choosing among plans,” a court “should not pre-empt the

legislative task nor ‘intrude upon state policy any more than necessary.’” Upham v.

Seamon, 102 S. Ct. at 1521 (internal citations omitted).

      106. Thus, before assuming the legislature’s role and implementing a

reapportionment plan, a court is required to initially provide the legislature with an

“adequate opportunity to” draft a plan. Id.

      107. The Pennsylvania Supreme Court provided the General Assembly with

only 18 days (14 business days) to pass new congressional districting legislation.

See Exhibit B.




                                      37
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 38 of 44



      108. Moreover, the Pennsylvania Supreme Court did not issue its Majority

Opinion – and the guidance contained therein as to the parameters it would use to

adjudicate constitutionality – until February 7, 2018. See Exhibit F.

      109. As a result, the General Assembly did not know the criteria that any

new Congressional districting plan would have to satisfy to be constitutional until

only 2 days before the General Assembly was required to pass legislation containing

that plan.

      110. As described above, passage of legislation through both chambers of

the Pennsylvania General Assembly requires that several steps be satisfied, steps

which would be impossible to complete given the Court’s actions.

      111. Because the Majority Opinion describing the constitutional deficiencies

in the 2011 Plan was issued only two days before the deadline imposed by the PCO

for the passage of remedial legislation, it was impossible for the General Assembly

to pass legislation that simultaneously: (A) accounted for and incorporated the

Pennsylvania Supreme Court’s analysis; (B) complied with the PCO and Majority

Opinion; and (C) satisfied the Pennsylvania Constitution’s requirement that

legislation be considered on three separate days prior to its enactment. See Pa. Const.

art. III, § 4 (“Every bill shall be considered on three different days in each House.”).




                                       38
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 39 of 44



      112. While Legislative Respondents made every effort to pass remedial

legislation, the Pennsylvania Supreme Court did not provide an adequate

opportunity for them to do so.

      113. In addition to leaving insufficient time to properly enact legislation, the

Pennsylvania Supreme Court’s actions also eliminated any opportunity for

Pennsylvania’s legislative process to properly run its course by leaving insufficient

time for any proposed legislation to be vetoed by the Governor and overridden by

the General Assembly.

      114. As a result, the Pennsylvania Supreme Court, through the PCO and

otherwise, violated the Elections Clause – as noted by multiple Justices of the

Pennsylvania Supreme Court, who dissented from the Court’s imposition of a

judicial map. Copies of the Dissenting Opinions are attached hereto as Exhibits K,

L and M, respectively.

      115. For instance, Justice Baer “conclude[d] that the compressed schedule

failed to provide a reasonable opportunity for the General Assembly to legislate a

new map in compliance with the federal Constitution’s delegation of redistricting

authority to state legislatures.” Exhibit M, at 2 (citing U.S. Const. art. I, § 4).

      116. Justice Mundy noted her continued objection to the PCO and the

ensuing chaos, writing “I cannot agree that the Legislature was afforded the time




                                       39
  Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 40 of 44



necessary to accomplish the immense task of redistricting in accordance with the

criteria imposed by this Court.” Exhibit L, at 2.

      117. And Chief Justice Saylor wrote that “the displacement to the judiciary

of the political responsibility for redistricting -- which is assigned to the General

Assembly by the United States Constitution -- appears to me to be unprecedented.”

Exhibit K, at 2 (Emphasis added)

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court render a

judgment in their favor and grant the following relief:

      (1)    Enjoining    Defendants    from    implementing    any    congressional

             redistricting scheme arising from the Pennsylvania Supreme Court’s

             Court Drawn Plan;

      (2)    Ordering Defendants to conduct the 2018 primary and general

             Congressional elections in full accordance with the 2011 Plan; and

      (3)    Granting such other and further relief as this Court deems just and

             proper.




                                       40
 Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 41 of 44



                                        Respectfully submitted,

                                        /s/Brian S. Paszamant
Matthew H. Haverstick                   Brian S. Paszamant (PA 78410)
 (PA 85072)                             Jason A. Snyderman (PA 80239)
Mark E. Seiberling (PA 91256)           BLANK ROME LLP
Paul G. Gagne (PA 42009)                One Logan Square
Shohin H. Vance (PA 323551)             130 N. 18th Street
KLEINBARD LLC                           Philadelphia, PA 19103
One Liberty Place, 46th Floor           Ph: (215) 569-5791
1650 Market Street                      Fax: (215) 832-5791
Philadelphia, PA 19103                  Email: paszamant@blankrome.com
Ph: (215) 568-2000                      snyderman@blankrome.com
Email: mhaverstick@kleinbard.com
mseiberling@kleinbard.com               Jason Torchinsky (pro hac vice
pgagne@kleinbard.com                    application pending)
svance@kleinbard.com                    Shawn Sheehy (pro hac vice
                                        application pending)
Joshua J. Voss (PA 306853)              HOLTZMAN VOGEL JOSEFIAK
KLEINBARD LLC                           TORCHINSKY PLLC
115 State Street, 2nd Floor             45 North Hill Drive, Suite 100
Harrisburg, PA 17101                    Warrenton, VA 20186
Ph: (717) 836-7492                      Ph: (540) 341-8808
Fax: (215) 568-0140                     Fax: (540) 341-8809
Email: jvoss@kleinbard.com              Email: jtorchinsky@hvjt.law
                                        ssheehy@hvjt.law
Counsel for Federal Plaintiffs
                                        Counsel for State Plaintiffs
Dated: February 22, 2018




                                   41
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 42 of 44



                                 VERIFICATION


      I, Jacob Corman, on behalf of Plaintiffs in this matter, do hereby verify that

the facts and information set forth in the foregoing Complaint are true and correct

to the best of my knowledge, information and belief. I understand that false

statements made herein are subject to the penalties of 28 U.S.C. § 1746 relating to

unsworn declarations to authorities.


Dated:              j
Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 43 of 44




                                 VERIFICATION


      I, Michael Folmer, on behalf of Plaintiffs in this matter, do hereby verify

that the facts and information set forth in the foregoing Complaint are true and

correct to the best of my knowledge, infonnation and belief. I understand that

false statements made herein are subject to the penalties of 28 U.S.C. § 1746

relating to unsworn declarations to authoritie:


Dated:                                       /,
                                          icfhael Folmer
   Case 1:18-cv-00443-CCC-KAJ-JBS Document 1 Filed 02/22/18 Page 44 of 44




                                  VERIFICATION

       I, Ryan Costello, on behalf of Plaintiffs in this matter, do hereby verify that

the facts and information set forth in the foregoing Complaint are true and correct to

the best of my knowledge, information and belief. I understand that false statements

made herein are subject to the penalties of 28 U.S.C. § 1746 relating to unsworn de

clarations to authorities.
